                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF PENNSYLVANIA

 KYKO GLOBAL, INC., a Canadian
 corporation, KYKO GLOBAL GmbH, a
 Bahamian corporation, PRITHVI
 SOLUTIONS, INC., a Delaware Corporation,                Civil Action No. 2:18-cv-01290-WSS

                 Plaintiffs,
                                                          Electronically Filed
         v.

 PRITHVI INFORMATION SOLUTIONS,
 LTD, an Indian corporation, VALUE TEAM
 CORPORATION, a British Virgin Islands
 corporation, SSG CAPITAL PARTNERS I,
 L.P., a Cayman Islands Limited Partnership,
 SSG CAPITAL MANAGEMENT (HONG
 KONG) LIMITED, a private Hong Kong
 company, MADHAVI VUPPALAPATI, an
 individual, ANANDHAN JAYARAMAN, an
 Individual, SHYAM MAHESHWARI, an
 individual, IRA SYAVITRI NOOR A/K/A
 IRA NOOR VOURLOUMIS, an individual,
 DINESH GOEL, an individual, WONG
 CHING HIM a/k/a Edwin Wong, an
 individual, ANDREAS VOURLOUMIS, an
 individual, PRITHVI ASIA SOLUTIONS
 LIMITED, a Hong Kong company,

                 Defendants.


                   DEFENDANTS’ MOTION FOR PROTECTIVE ORDER

        1.      The Court ordered that the parties meet and confer regarding a protective order to

govern this case. ECF No. 174 (“By August 25, 2020, the parties shall meet and confer

regarding a stipulated protective order and submit a joint order for the Court’s signature. To the

extent that the parties cannot agree on any terms of the proposed order, they shall each submit

their position, in redline, for the Court’s review.”).
         2.    The SSG Defendants1 proposed that the parties agree to the Court’s standard

protective order. The SSG Defendants circulated that standard protective order to all counsel for

review. Plaintiffs’ counsel circulated a counter-proposal, containing proposed revisions to

Paragraphs 6, 7, 8, 9, 14, 23 of the standard order and to Appendix A and Appendix B.

         3.    Counsel for the SSG Defendants believe the Court’s comments during the Case

Management Conference on August 11, 2020, required the parties to file a joint proposed

protective order, identifying their disagreements in a single document. They attempted to

coordinate with Plaintiffs’ counsel to file a joint motion and a joint redlined Protective Order,

explaining that the Court’s scheduling order required a joint filing. The SSG Defendants were

finalizing comments to the draft Protective Order, along with a joint proposed motion, and asked

counsel for Plaintiffs to wait for those comments before filing anything. See Ex. A. Plaintiffs

instead filed their edited version of the Protective Order without the SSG Defendants’ comments.

Id.

         4.    The SSG Defendants believe it is important to explain their positions regarding

Plaintiffs’ edits to the standard Protective Order. Accordingly, they have provided marginal

comments where appropriate, explaining why Plaintiffs’ proposed revisions should not be

adopted. Ex. B. A clean version of the standard Protective Order is also attached to this motion.

Ex. C.

         5.    Counsel for Defendant Jayaraman agrees with the SSG Defendants’ proposed

Protective Order.

         WHEREFORE, the SSG Defendants, joined by Defendant Jayaraman, respectfully


         1
         The “SSG Defendants” include only SSG Capital Partners I, L.P., SSG Capital
Management (Hong Kong) Ltd., Edwin Wong, Andreas Vourloumis, Shyam Maheshwari, Dinesh
Goel, and Ira Syavitri Noor.


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request that this Court enter the proposed Protective Order at Exhibit C. The SSG Defendants

are available for a status conference to discuss their positions, if it would be helpful for the

Court.



Dated: August 25, 2020

                                                        Respectfully submitted,



 /s/ Jeffrey T. Morris                                  /s/ John D. Goetz
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                                                        Partners I, L.P., SSG Capital Management
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                                                        Vourloumis, Dinesh Goel, Wong Ching Him
                                                        a/k/a Edwin Wong, Andreas Vourloumis,
                                                        and Value Team Corporation




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